              Case 1:20-cv-00840-BKS-CFH Document 61-14 Filed 09/04/20 Page 1 of 5




  Measles (Rubeola)

Measles Cases and Outbreaks
CDC updates this page monthly.



Measles Cases in 2020
As of August 19, 2020, there have been 12 confirmed cases in 7 jurisdictions.*

*Jurisdictions refer to any of the 50 states, New York City, and the District of Columbia.



Measles Cases in 2019
   • From January 1 to December 31, 2019, 1,282* individual cases of measles were confirmed in 31 states. Of these
      cases, 128 were hospitalized and 61 reported having complications, including pneumonia and encephalitis.
   • This is the greatest number of cases reported in the U.S. since 1992. More than 73% of the cases were linked to
     recent outbreaks in New York. The majority of cases were among people who were not vaccinated against measles.
     Measles is more likely to spread and cause outbreaks in U.S. communities where groups of people are unvaccinated.
   • All measles cases were caused by measles wild-type D8 or B3.



Number of Measles Cases Reported by Year
2010-2019*(as of May 7, 2020)
                           Case 1:20-cv-00840-BKS-CFH Document 61-14 Filed 09/04/20 Page 2 of 5

                   1400
                                                                                                                                                    1282
                   1200


                   1000
 Number of Cases




                    800
                                                                              667
                    600


                    400                                                                                                               375
                                      220                       187                             188
                    200
                                                                                                               86          120
                            63                    55
                      0
                                0                     2                            4                            6                          8
                          201                   201                          201                          201                        201

                                                                                        Year

                                                                                              Measles Cases     Reset




    Data Table

                                    2010        2011             2012                  2013           2014              2015         2016            2017         2018         2019

 Measles Cases                             63             220           55                    187             667              188             86           120          375      1282




*Reporting for 2019 began December 30, 2018. Case count is preliminary and subject to change.




                                                                                                                                               Measles Outbreak
                           Make sure you are vaccinated against measles before traveling
                            internationally.
                                                                                                                                               Factsheet



       Spread of Measles

                   • The majority of people who got measles were unvaccinated.
                   • Measles is still common in many parts of the world.
                   • Travelers with measles continue to bring the disease into the U.S.
                   • Measles can spread when it reaches a community in the U.S. where
                      groups of people are unvaccinated.

                                                                                                                                               Protect Families & Communities
                                                                                                                                                    with MMR Vaccine 

                           For News and Media
                            Find supporting materials in the CDC Newsroom.
                                                                                                                                                           [1 page, 508]
            Case 1:20-cv-00840-BKS-CFH Document 61-14 Filed 09/04/20 Page 3 of 5

Measles Outbreaks
In a given year, more measles cases can occur for any of the following reasons:


   • an increase in the number of travelers who get measles abroad and bring it into the U.S., and/or
   • further spread of measles in U.S. communities with pockets of unvaccinated people.

Reasons for an increase in cases some years:


  2018


  The U.S. experienced 17 outbreaks in 2018. Three outbreaks in New York State, New York City, and New Jersey,
  respectively, contributed to most of the cases. Cases in those states occurred primarily among unvaccinated people in
  Orthodox Jewish communities. These outbreaks were associated with travelers who brought measles back from Israel,
  where a large outbreak is occurring. Eighty-two people brought measles to the U.S. from other countries in 2018.


  2017


  A 75-case outbreak was reported in Minnesota in a Somali-American community with poor vaccination coverage.

  MMWR: 2017 Outbreaks


   • Measles Outbreak — Minnesota April–May 2017
     MMWR. July 14, 2017
     In a community with previously high vaccination coverage, concerns about autism, the perceived increased rates of
     autism in the Somali-American community…


  2016



    MMWR: 2016 Outbreaks


     • Notes from the Field: Measles Outbreak at a United States Immigration and Customs Enforcement Facility —
       Arizona, May–June 2016
       MMWR. May 26, 2017
       On May 25, 2016, a detainee at a U.S. Immigration and Customs Enforcement (ICE) detention center in Arizona
       who had been hospitalized with fever and a generalized maculopapular rash…
     • Measles Outbreak of Unknown Source — Shelby County, Tennessee, April–May 2016
       MMWR. September 30, 2016
       On April 15, 2016, local public health officials in Shelby County, Tennessee, were notified of a positive measles
       immunoglobulin M (IgM) test for a male aged 18 months…




  2015
        Case 1:20-cv-00840-BKS-CFH Document 61-14 Filed 09/04/20 Page 4 of 5
 The United States experienced a large (147 cases), multi-state measles outbreak linked to an amusement park in
 California. The outbreak likely started from a traveler who became infected overseas with measles, then visited
 the amusement park while infectious; however, no source was identified. Analysis by CDC scientists showed that
 the measles virus type in this outbreak (B3) was identical to the virus type that caused the large measles outbreak
 in the Philippines in 2014.

 MMWR: 2015 Outbreaks


  • Measles — United States, January 4–April 2, 2015
    MMWR. April 17, 2015
    From January 1 through April 2, 2015, a total of 159 measles cases have been reported to CDC….
  • Measles Outbreak — California, December 2014–February 2015
    MMWR. Feb 20, 2015
    As of February 11, a total of 125 measles cases had been confirmed among U.S. residents in an ongoing
    measles outbreak linked to two Disney theme parks in Orange County, California…




2014



 The U.S. experienced 23 measles outbreaks in 2014, including one large outbreak of 383 cases, occurring
 primarily among unvaccinated Amish communities in Ohio. Many of the cases in the U.S. in 2014 were associated
 with cases brought in from the Philippines, which experienced a large measles outbreak.


 MMWR: 2014 Outbreaks

  • Measles Outbreak in an Unvaccinated Family and a Possibly Associated International Traveler — Orange
    County, Florida, December 2012–January 2013
    MMWR. Sep 12, 2014
    Four children in a Florida family were diagnosed with measles in January 2013. None of the four were
    vaccinated against measles, and none had traveled outside of Orange County, Florida, during the periods
    when they likely had been exposed…
  • Notes from the Field: Measles in a Micronesian Community — King County, Washington, 2014
    MMWR. Sep 12, 2014
    This outbreak demonstrates the ease with which measles can be imported from a country with an ongoing
    outbreak and spread among a local population…
  • Measles — United States, January 1–May 23, 2014
    MMWR May 29, 2014
    From January 1 through May 23, 2014, a total of 288 confirmed measles cases have been reported to CDC,
    surpassing the highest reported yearly total of measles cases since elimination.
  • Notes from the Field: Measles — California, January 1–April 18, 2014
    MMWR. Apr 25, 2014
    During January 1-April 18, 2014, 58 confirmed measles cases were reported in California, the highest number
    reported for that period since 1995.




2013



 The U.S. experienced 11 outbreaks in 2013, three of which had more than 20 cases, including an outbreak with 58
         Case 1:20-cv-00840-BKS-CFH Document 61-14 Filed 09/04/20 Page 5 of 5
  cases. For more information see Measles — United States, January 1-August 24, 2013.

  MMWR: 2013 Outbreaks


   • Measles — United States, January 1-August 24, 2013
     MMWR. Sep 13, 2013
     During the first 8 months of 2013, 159 people in the United States were reported to have measles.
   • Notes from the field: Measles outbreak among members of a religious community — Brooklyn, New York,
     March–June 2013
     MMWR. Vol 62, No 36;752-3 09/13/2013
   • Notes from the field: Measles outbreak associated with a traveler returning from India — North Carolina,
     April–May 2013
     MMWR. Vol 62, No 36;753




2011


In 2011, more than 30 countries in the WHO European Region reported an increase in measles, and France was
experiencing a large outbreak. These led to a large number of importations (80) that year. Most of the cases that were
brought to the U.S. in 2011 came from France. For more information see Measles — United States, January-May 20,
2011.


                                                                                                        Page last reviewed: August 19, 2020
                                       Content source: National Center for Immunization and Respiratory Diseases, Division of Viral Diseases
